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        In the United States Court of Federal Claims
  * * * * * * * * * * * * * * * * **
                                           *
  IAN, EVAN & ALEXANDER CORP.,             *
                                           *
                    Protestor,             *
  v.                                       *
                                           * No. 18-1C
  UNITED STATES,                           * Filed: January 19, 2018
                                           *
                    Defendant,
                                           *
  v.                                       *
                                           *
  XCELERATE SOLUTIONS,                     *

                 Defendant-Intervenor.     *
                                     *
  * * * * * * * * * * * * * * * * **
                                  ORDER

       After the submission of briefs and a hearing on January 18, 2018, on January 19,
2018, the court orally described the basis for and issued a permanent injunction in the
above-captioned case. As discussed with the parties, the court GRANTS the protestor’s
motion for judgment on the Administrative Record. The court DENIES the defendant’s
motion to dismiss and cross-motion for judgment on the Administrative Record and the
defendant-intervenor’s cross-motion for judgment on the Administrative Record. A written
opinion will follow.

       IT IS SO ORDERED.

                                                   s/Marian Blank Horn
                                                   MARIAN BLANK HORN
                                                            Judge
